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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                         CIVIL ACTION

VERSUS                                                                           NO. 12-1924

CITY OF NEW ORLEANS                                                              SECTION: “E” (2)


                                                 ORDER
        The Court set an in-court status conference on June 7, 2023, at 2:00 p.m. CST1 to

allow the Monitor to present to the Court regarding the status of implementation of the

Consent Decree and the Monitor’s current observations, findings, and recommendations

in accordance with paragraph 463, including Section VII. A of the Monitor’s Public

Integrity Bureau Report (“PIB Report”)2 and the Monitor’s report focusing on the Public

Integrity Bureau’s investigation into Officer Jeffrey Vappie (“PIB Vappie Investigation

Report”).

        The Monitor’s final PIB Vappie Investigation Report, with attachments, has been

provided to the parties.

        The Court finds, in the interest of the efficient and orderly administration of

justice and by virtue of its inherent powers,3 it will be for the benefit of the parties, the

Court, and the public, for the parties to provide written responses to the PIB Vappie

Investigation Report prior to the status conference on June 7, 2023.

        Accordingly,




1 R. Doc. 701.
2 The City filed a response to the PIB Report. R. Doc. 697.
3 District courts possess inherent powers to manage the cases on their dockets so as to achieve an orderly

and expeditious disposition with economy of time and effort for itself, counsel, and litigants. In re Stone,
986 F.2d 898, 903 (5th Cir. 1993).


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      IT IS HEREBY ORDERED that the parties file their written responses to the

PIB Vappie Investigation Report by 5:00 p.m. CST on June 5, 2023.

      New Orleans, Louisiana, this 25th day of May, 2023.


                                       ______________________ _________
                                                 SUSIE MORGAN
                                         UNITED STATES DISTRICT JUDGE




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